           CASE 0:21-cr-00108-PAM-TNL Doc. 191 Filed 01/10/22 Page 1 of 3




                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF MINNESOTA
                                 Criminal No.: 21-CR-108 (2) (PAM/TNL)

    UNITED STATES OF AMERICA,                     )
                                                  )
                                       Plaintiff, )
    vs.                                           )              DEFENDANT THAO’S RESPONSE
                                                  )              TO GOVERNMENT’S MOTION IN
                                                  )                  LIMINE TO PRECLUDE
    TOU THAO,                                     )              DEFENDANTS FROM INVITING
                                                  )                  JURY NULLIFICATION
                                       Defendant. )
                                                  )



          On December 30, 2021, the government in the above-captioned case filed a Motion

in Limine to Preclude Defendants from Inviting Jury Nullification. Doc. No. 149. The

government moved “to preclude the defendants from offering evidence or argument

calculated to induce jury nullification or likely to have that effect.” Id. Specifically, the

government requested an order precluding defendants, including Mr. Thao, from arguing

“that they should not be held accountable for the charged crimes because: (1) the culture

at the Minneapolis Police Department (MPD) makes them somehow less responsible for

their own acts or omissions, and (2) because other MPD officers have not been held

accountable for similar acts or omissions in the past.”

          Defendant Thao does not intend to argue for jury nullification.1 As such, Defendant

Thao does not oppose an order preventing his defense from arguing the jury to nullify.


1
 Noting that while the defense is entitled to instruct the jury on nullification, it is permissible for a jury to nullify on
their own account. United States v. Mayer, No. 19-cr-0096, slip op. at 5 (D. Minn. June 15, 2021) (“Moreover,

                                                             1
          CASE 0:21-cr-00108-PAM-TNL Doc. 191 Filed 01/10/22 Page 2 of 3




However, Mr. Thao objects to any order barring his defense from bringing in evidence

about MPD culture or other past force complaints. Those subjects are relevant to the issues

at hand, go to truthfulness and bias of government witnesses, and have been brought up by

the government’s own witnesses at prior testimony or interviews. An order precluding

defense from presenting or cross-examining on those issues would be an end-around way

for the Government to preclude Mr. Thao from bringing up relevant and potentially

exculpatory testimony or evidence, which would infringe on his right to present a complete

defense.

         As such, Mr. Thao does not object to a motion precluding his counsel from arguing

for jury nullification, but respectfully objects if that order specifically bars his counsel from

admitting evidence or testimony (through cross or direct) about MPD culture or how other

use-of-force complaints/events have been historically handled.

Respectfully submitted,



Dated: This 10th day of January, 2022                          /s/ Robert M. Paule
                                                               Robert M. Paule (#203877)
                                                               Robert M. Paule, P.A.
                                                               920 Second Avenue South
                                                               Suite 975
                                                               Minneapolis, MN 55402
                                                               T: (612) 332-1733
                                                               F: (612) 332-9951


                                                               Natalie R. Paule (#0401590)

although a jury has the power to find a defendant not guilty for any reason, a defendant has no right to incite jury
nullification”. (citing to United States v. Horsman, 114 F.3d 822, 829 (8th Cir. 1997)).

                                                          2
CASE 0:21-cr-00108-PAM-TNL Doc. 191 Filed 01/10/22 Page 3 of 3




                                  Paule Law P.L.L.C.
                                  101 East Fifth Street
                                  Suite 1500
                                  St. Paul, MN 55101
                                  T: (612) 440-3404
                                  nrp@paulelaw.com

                                  Attorneys for Tou Thao




                              3
